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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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                                   WESTERN DIVISION
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         BMW OF NORTH AMERICA, LLC,           Case No.: 2:17-cv-08826-PSG (MRWx)
    21   et al.,
                                              JOINT REPORT REGARDING ADR
    22              Plaintiffs,
                                              Mediation Date: February 26, 2019
    23        v.                              Location: Judicate West
                                                        11601 Wilshire Blvd.
    24   WIN.IT AMERICA, INC., et al.,                  Suite 2040
                                                        Los Angeles, CA 90025
    25              Defendants.
                                              Neutral: Hon. Victor B. Kenton, Ret.
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                              JOINT REPORT REGARDING ADR
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     1         Pursuant to this Court’s Order/Referral to ADR [ECF Dkt. 24], Plaintiffs
     2   BMW of North America, LLC and Bayerische Motoren Werke AG (“Plaintiffs”)
     3   and Defendant WIN.IT America, Inc. (“Defendant”), by and through their respective
     4   counsel of record, submit this Joint Report regarding the progress of settlement
     5   discussions following private mediation.
     6         On February 26, 2019, Plaintiffs and Defendant participated in a full-day of
     7   mediation with the Honorable Victor B. Kenton (Ret.) at Judicate West. The case
     8   did not settle at mediation. Further facilitated discussions by Judge Kenton with the
     9   parties are to be expected with an initial check in date by Judge Kenton on March
    10   11, 2019. A Mediation Report completed by Judge Kenton is attached hereto as
    11   Exhibit A.
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    13   DATED: March 5, 2019                   JOHNSON & PHAM, LLP
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                                                By: /s/ Marcus F. Chaney
    15                                          Marcus F. Chaney, Esq.
    16                                          Attorneys for Plaintiffs
                                                BMW OF NORTH AMERICA, LLC and
    17                                          BAYERISCHE MOTOREN WERKE AG
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    19   DATED: March 5, 2019                   DORSEY & WHITNEY LLP
    20                                          By: /s/ Jeremy T. Elman
    21                                          Attorneys for Defendant
                                                WIN.IT AMERICA, INC.
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                               JOINT REPORT REGARDING ADR
